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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                   Case No.: 0:19-cv-60205-DIMITROULEAS/Snow

  GINA BELLENGER, on behalf of
  herself and all others similarly situated,

                          Plaintiff,

  v.

  ACCOUNTS RECEIVABLE MANAGEMENT, INC.,

                          Defendant.
                                                         /

                      ORDER PRELIMINARILY APPROVING
       CLASS ACTION SETTLEMENT AND CERTIFYING THE SETTLEMENT CLASS

        THIS CAUSE is before the Court on Plaintiff’s Unopposed Motion for Preliminary Approval

 of Class Action Settlement [DE 38] (“Motion”), filed on September 24, 2019. The Court has carefully

 considered the Motion and is otherwise fully advised in the premises.

           Plaintiff Gina Bellenger, on behalf of herself and classes of similarly situated persons,

   (“Plaintiff”) and Defendant Accounts Receivable Management, Inc., (“ARM” or “Defendant”),

   have agreed to settle this Action pursuant to the terms and conditions set forth in an executed

   Settlement Agreement [DE 38-1] (“Settlement Agreement” or “Agreement”). The Parties reached

   the Settlement through arm’s-length negotiations with the help of experienced mediator, Steven

   Jaffe, Esq. Under the Settlement, subject to the terms and conditions therein and subject to Court

   approval, Plaintiff and the proposed Settlement Class will fully, finally, and forever resolve,

   discharge, and release their claims.

           The Settlement has been filed with the Court, and Plaintiff and Class Counsel have filed an

   Unopposed Motion for Preliminary Approval of Class Settlement. Upon considering the Motion,

   the Settlement and all exhibits thereto, the record in these proceedings, the representations and

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   recommendations of counsel, and the requirements of law, the Court finds that: (1) this Court has

   jurisdiction over the subject matter and the Parties to this Action; (2) the proposed Settlement Class

   meets the requirements of Federal Rule of Civil Procedure 23 and should be certified for settlement

   purposes only; (3) the persons and entities identified below should be appointed Class

   Representative and Class Counsel; (4) the Settlement is the result of informed, good-faith, arm’s-

   length negotiations between the Parties and their capable and experienced counsel, and is not the

   result of collusion; (5) the Settlement is within the range of reasonableness and should be

   preliminarily approved; (6) the proposed Notice program and proposed forms of Notice satisfy

   Federal Rule of Civil Procedure 23 and constitutional due process requirements, and are reasonably

   calculated under the circumstances to apprise the Settlement Class of the pendency of the Action,

   class certification, terms of the Settlement, Class Counsel’s application for an award of attorneys’

   fees and expenses (“Fee Application”) and request for a Service Award for Plaintiff, and their rights

   to opt-out of the Settlement Class or object to the Settlement, Class Counsel’s Fee Application,

   and/or the request for a Service Award for Plaintiff; (7) good cause exists to schedule and conduct

   a Final Approval Hearing, pursuant to Federal Rule of Civil Procedure 23(e), to assist the Court in

   determining whether to grant Final Approval of the Settlement and enter the Final Approval Order,

   and whether to grant Class Counsel’s Fee Application and request for a Service Award for Plaintiff;

   and (8) the other related matters pertinent to the Preliminary Approval of the Settlement should

   also be approved.

          Based on the foregoing, it is hereby ORDERED AND ADJUDGED as follows:

          1. As used in this Preliminary Approval Order, unless otherwise noted, capitalized terms

   shall have the definitions and meanings accorded to them in the Settlement.

          2. The Court has jurisdiction over the subject matter and Parties to this proceeding pursuant

   to 28 U.S.C. §§ 1331, 1332.

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            3. Venue is proper in this District.

       Provisional Class Certification and Appointment of Class Representative and Class Counsel

            4. It is well established that “[a] class may be certified solely for purposes of settlement [if]

     a settlement is reached before a litigated determination of the class certification issue.” Borcea v.

     Carnival Corp., 238 F.R.D. 664, 671 (S.D. Fla. 2006) (internal quotation marks omitted). In

     deciding whether to provisionally certify a settlement class, a court must consider the same factors

     that it would consider in connection with a proposed litigation class – i.e., all Rule 23(a) factors

     and at least one subsection of Rule 23(b) must be satisfied – except that the Court need not consider

     the manageability of a potential trial, since the settlement, if approved, would obviate the need for

     a trial. Id.; Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997).

            5. The Court finds, for settlement purposes, that the Federal Rule of Civil Procedure 23

     factors are present and that certification of the proposed Settlement Class is appropriate under Rule

            6. The Court therefore provisionally certifies the following Settlement Class.

            All individuals within the United States (i) who received a call (ii) on his or her
            cellular telephone (iii) from Defendant, (iv) without their prior express written
            consent. 1

             7.   Specifically, the Court finds, for settlement purposes and conditioned on final

     certification of the proposed class and on the entry of the Final Approval Order, that the

     Settlement Class satisfies the following factors of Federal Rule of Civil Procedure 23:

            (a) Numerosity: In the Action, an estimated 3,000 individuals are members of the

     proposed Settlement Class. The proposed Settlement Class is thus so numerous that joinder of all


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  The Court notes the Parties list the following exclusions from the Settlement Class in their Unopposed
 Motion for Preliminary Approval of Class Action Settlement: “(1) the trial judge presiding over this case;
 (2) ARM, as well as any parent, subsidiary, affiliate, or control person of ARM, and the officers,
 directors, agents, servants, or employees of ARM; (3) any of the Released Parties; (4) the immediate
 family of any such person(s); any Settlement Class Member who has timely opted out of this
 proceeding; and (6) Plaintiff’s Counsel, their employees, and their immediate family.” See DE 38 p.
 3.
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   members is impracticable.

          (b) Commonality: “[C]ommonality requires the plaintiff to demonstrate that the class

   members ‘have suffered the same injury,’” and the plaintiff’s common contention “must be of such

   a nature that it is capable of classwide resolution – which means that determination of its truth or

   falsity will resolve an issue that is central to the validity of each one of the claims in one stroke.”

   W al-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 131 S. Ct. 2541, 2551 (2011) (citation omitted).

   Here, the commonality requirement is satisfied. Multiple questions of law and fact centering on

   Defendant’s class-wide practices are common to the Plaintiff and the Settlement Class, are alleged

   to have injured all members of the Settlement Class in the same way, and would generate common

   answers central to the viability of the claims were this case to proceed to trial.

          (c) Typicality: The Plaintiff’s claims are typical of the Settlement Class because they

   concern the same alleged Defendant’s practices, arise from the same legal theories, and allege the

   same types of harm and entitlement to relief. Rule 23(a)(3) is therefore satisfied. See Kornberg v.

   Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (typicality satisfied where

   claims “arise from the same event or pattern or practice and are based on the same legal theory”);

   Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001) (named plaintiffs are typical of the class

   where they “possess the same interest and suffer the same injury as the class members”).

          (d) Adequacy: Adequacy under Rule 23(a)(4) relates to: (1) whether the proposed class

   representatives have interests antagonistic to the class; and (2) whether the proposed class counsel

   has the competence to undertake the litigation at issue. See Fabricant v. Sears Roebuck, 202 F.R.D.

   310, 314 (S.D. Fla. 2001). Here, Rule 23(a)(4) is satisfied because there are no conflicts of interest

   between the Plaintiff and the Settlement Class, and Plaintiff has retained competent counsel to

   represent her and the Settlement Class. Class Counsel regularly engage in consumer class

   litigation, complex litigation, and other litigation similar to this Action, and have dedicated

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   substantial resources to the prosecution of the Action. Moreover, the Plaintiff and Class Counsel

   have vigorously and competently represented the Settlement Class in the Action. See Lyons v.

   Georgia-Pacific Corp. Salaried Employees Rel. Plan, 221 F.3d 1235, 1253 (11th Cir. 2000).

          (e) Predominance and Superiority: Rule 23(b)(3) is satisfied because the common legal and

   alleged factual issues here predominate over individualized issues, and resolution of the common

   issues for the members of the Settlement Class in a single, coordinated proceeding is superior to

   thousands of individual lawsuits addressing the same legal and factual issues. With respect to

   predominance, Rule 23(b)(3) requires that “[c]ommon issues of fact and law . . . ha[ve] a direct

   impact on every class member’s effort to establish liability that is more substantial than the impact

   of individualized issues in resolving the claim or claims of each class member.” Sacred Heart

   Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d 1159, 1170 (11th Cir. 2010)

   (internal quotation marks omitted). Here, common questions present a significant aspect of the

   case and can be resolved for all members of the Settlement Class in a single adjudication. In a

   liability determination, those common issues would predominate over any issues that are unique

   to individual members of the Settlement Class. Moreover, each member of the Settlement Class

   has claims that arise from the same or similar alleged practices as well as the same legal theories.

          8. The Court appoints Plaintiff, Gina Bellenger, as Class Representative.

          9. The Court appoints the following people and firms as Class Counsel: Scott A. Edelsberg

   of Edelsberg Law, P.A.; Andrew J. Shamis of Shamis and Gentile, P.A., Gary M. Klinger Esq. of

   Kozonis & Klinger, Ltd., and Jibrael S. Hindi, Esq. of The Law Offices of Jibrael S. Hindi, PLLC,

   as Class Counsel for the Settlement Class.

         10. The Court recognizes that Defendant reserves its defenses and objections against and

   rights to oppose any request for class certification in the event that the proposed Settlement does

   not become Final for any reason. Defendant also reserves its defenses to the merits of the claims

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   asserted in the event the Settlement does not become Final for any reason.

                                 Preliminary Approval of the Settlement

          11. At the preliminary approval stage, the Court’s task is to evaluate whether the Settlement

   is within the “range of reasonableness.” 4 Newberg on Class Actions § 11.26. “Preliminary

   approval is appropriate where the proposed settlement is the result of the parties’ good faith

   negotiations, there are no obvious deficiencies and the settlement falls within the range of reason.”

   Smith v. Wm. Wrigley Jr. Co., 2010 WL 2401149, at *2 (S.D. Fla. Jun. 15, 2010). Settlement

   negotiations that involve arm’s length, informed bargaining with the aid of experienced counsel

   support a preliminary finding of fairness. See Manual for Complex Litigation, Third, § 30.42 (West

   1995) (“A presumption of fairness, adequacy, and reasonableness may attach to a class settlement

   reached in arm's-length negotiations between experienced, capable counsel after meaningful

   discovery.”) (internal quotation marks omitted).

           12. The Court preliminarily approves the Settlement, together with all exhibits thereto,

  as fair, reasonable, and adequate. The Court finds that the Settlement was reached in the absence

  of collusion, is the product of informed, good-faith, arm’s-length negotiations between the Parties

  and their capable and experienced counsel. The Court further finds that the Settlement, including

  the exhibits thereto, is within the range of reasonableness and possible judicial approval, such that:

   (a) a presumption of fairness is appropriate for the purposes of preliminary settlement approval;

   and (b) it is appropriate to effectuate notice to the Settlement Class, as set forth below and in the

   Settlement, and schedule a Final Approval Hearing to assist the Court in determining whether to

   grant Final Approval to the Settlement and enter a Final Approval Order.

                           Approval of Class Notice and the Claims Process

           13. The Court approves the form and content of the Class notices, substantially in the forms

  attached as Exhibits 3 and 4 to the Settlement, and the Claim Form attached thereto as Exhibit 1.

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  The Court further finds that the Class Notice program described in the Settlement is the best

  practicable under the circumstances. The Class Notice program is reasonably calculated under the

  circumstances to inform the Settlement Class of the pendency of the Action, certification of a

  Settlement Class, the terms of the Settlement, Class Counsel’s Fee Application and the request for

   Service Award for Plaintiff, and their rights to opt-out of the Settlement Class or object to the

   Settlement. The Class notices and Class Notice program constitute sufficient notice to all persons

   entitled to notice. The Class notices and Class Notice program satisfy all applicable requirements

   of law, including, but not limited to, Federal Rule of Civil Procedure 23 and the Constitutional

   requirement of Due Process.

           14. Kurtzman Carson Consultants LLC (“KCC”) shall serve as the Administrator.

           15. The Administrator shall implement the Class Notice program, as set forth below and in

   the Settlement, using the Class notices substantially in the forms attached as Exhibits to the

   Settlement and approved by this Preliminary Approval Order. Notice shall be provided to the

   members of the Settlement Class pursuant to the Class Notice program, as specified in the

   Settlement and approved by this Preliminary Approval Order. The Class Notice program shall

   include, to the extent necessary, Mail Notice and Long-Form Notice, as set forth in the Settlement

   and below.

           16. The Administrator shall administer Mail Notice as set forth in the Settlement. Mail

   Notice shall be completed no later than 60 days after the entry of this order.

           17. The Administrator shall establish a Settlement Website as a means for Settlement Class

   members to obtain notice of, and information about, the Settlement. The Settlement Website shall

   be established as soon as practicable following Preliminary Approval, but no later than before

   commencement of the Class Notice program. The Settlement Website shall include an online portal

   to file Claim Forms, hyperlinks to the Settlement, the Long-Form Notice, the Preliminary Approval

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   Order, and other such documents as Class Counsel and counsel for Defendant agree to include.

   These documents shall remain on the Settlement Website until at least sixty (60) days following

   the Claim Deadline.

           18. The Administrator is directed to perform all substantive responsibilities with respect to

   effectuating the Class Notice program, as set forth in the Settlement.

                            Final Approval Hearing, Opt-Outs, and Objections

           19. A Final Approval Hearing shall be held before this Court on Friday, February 21,

   2019 at 10:00 a.m. to determine whether to grant Final Approval to the Settlement and to enter a Final

   Approval Order, and whether Class Counsel’s Fee Application and request for a Service Award for the

   Class Representative should be granted.

           20. Any person within the Settlement Class who wishes to be excluded from the Settlement

   Class may exercise their right to opt-out of the Settlement Class by following the opt-out

   procedures set forth in the Settlement and in the Notices at any time during the Opt-Out Period.

   To be valid and timely, opt-out requests must be received by those listed in the Long-Form Notice

   on or before the last day of the Opt-Out Period, which is January 24, 2019 (“Opt-Out Deadline”),

   and mailed to the addresses indicated in the Long Form Notice.

           21. Any Settlement Class Member may object to the Settlement, Class Counsel’s Fee

   Application, or the request for a Service Award for Plaintiff. Any such objections must be mailed

   to the Clerk of the Court, Class Counsel, and ARM’s Counsel, at the addresses indicated in the

   Long-Form Notice. For an objection to be considered by the Court, the objection must be

   postmarked no later than January 24, 2019, as set forth in the Notice. To be valid, an objection

   must include the following information:

           a. the name of the Action;

           b. the objector’s full name, address, and telephone number;

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           c. an explanation of the basis upon which the objector claims to be a Settlement Class

   Member;

           d. all grounds for the objection, accompanied by any legal support for the objection known

   to the objector or his counsel;

           e.   the number of times in which the objector has objected to a class action settlement

   within the five years preceding the date that the objector files the objection, the caption of each case in

   which the objector has made such an objection, and a copy of any orders related to or ruling upon the

   objector’s prior such objections that were issued by the trial and appellate courts in each listed case;

           f. the identity of all counsel who represent the objector, including any former or current

   counsel who may be entitled to compensation for any reason related to the objection to the

   Settlement or Fee Application;

           g. a copy of any orders related to or ruling upon counsel’s or the counsel’s law firm’s prior

   objections made by individuals or organizations represented by that were issued by the trial and

   appellate courts in each listed case in which the objector’s counsel and/or counsel’s law firm have

   objected to a class action settlement within the preceding 5 years the objector’s counsel;

           h. any and all agreements that relate to the objection or the process of objecting— whether

   written or oral—between objector or objector’s counsel and any other person or entity;

           i. the identity of all counsel (if any) representing the objector who will appear at the Final

   Approval Hearing;

           j. a statement confirming whether the objector intends to personally appear and/or testify

   at the Final Approval Hearing;

           k. a list of all persons who will be called to testify at the Final Approval Hearing in support

   of the objection; and

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           l. the objector’s signature (an attorney’s signature is not sufficient).

                 Further Papers in Support of Settlement and Attorney’s Fee Application

           22. Plaintiff and Class Counsel shall file their Fee Application and request for a Service

   Award for Plaintiff, no later than December 2, 2019.

           23. Plaintiff and Class Counsel shall file their responses to timely filed objections to the Motion

   for Final Approval of the Settlement, the Fee Application and/or request a Service Award for Plaintiff no

   later than February 6, 2020.

           24. Plaintiff and Class Counsel shall file their Motion for Final Approval of the

   Settlement no later than February 14, 2020.

                                   Effect of Failure to Approve Settlement

           25. If the Settlement is not finally approved by the Court, or for any reason the Parties fail

   to obtain a Final Approval Order as contemplated in the Settlement, or the Settlement is

   terminated pursuant to its terms for any reason, then the following shall apply:

           (a) All orders and findings entered in connection with the Settlement shall become null and

   void and have no further force and effect, shall not be used or referred to for any purpose

   whatsoever, and shall not be admissible or discoverable in any other proceeding;

           (b) Nothing in this Preliminary Approval Order is, or may be construed as, any admission

   or concession by or against ARM or Plaintiff on any point of fact or law; and

           (c) Neither the Settlement terms nor any publicly disseminated information regarding the

   Settlement, including, without limitation, the Class Notice, court filings, orders and public

   statements, may be used as evidence. In addition, neither the fact of, nor any documents relating

   to, either Party’s withdrawal from the Settlement, any failure of the Court to approve the

   Settlement and/or any objections or interventions may be used as evidence.

                                      Stay/Bar of Other Proceedings


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           26. All proceedings in the Action are stayed until further order of the Court, except as may

   be necessary to implement the terms of the Settlement. Pending final determination of whether

   the Settlement should be approved, Plaintiff, all persons in the Settlement Class, and persons

   purporting to act on their behalf are enjoined from commencing or prosecuting (either directly,

   representatively or in any other capacity) against any of the Released Parties any action or proceeding in

   any court, arbitration forum or tribunal asserting any of the Released Claims.

           27. Based on the foregoing, the Court sets the following schedule for the Final Approval

   Hearing and the actions which must take place before and after it:

                          Event                                                 Date

    Deadline for Completion of Mailed Notice                December 2, 2019
    Program
    Deadline for filing Class Counsel’s                     December 2, 2019
    application for an award of attorneys’ fees
    and expenses and request for class
    representative award
    Deadline for opting-out of Settlement and               January 24, 2020
    submission of objections
    Deadline for filing Responses to Objections             February 7, 2020
    Deadline for filing Motion for Final Settlement February 14, 2020
    Approval
    The Final Approval Hearing                              February 21, 2020


    The last day that Settlement Class members              March 6, 2020
    may submit a Claim Form to the Settlement
    Administrator.




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        DONE AND ORDERED in Chambers in Fort Lauderdale, Florida this day of 1st day of

 October, 2019.




 Copies furnished to:
 All Counsel of Record




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